   Case 8:25-cr-00006-LKG   Document 116    Filed 04/18/25   Page 1 of 33



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,            *
                                     *
          Plaintiff,                 *
                                     *
     v.                              *
                                               CRIMINAL NO. LKG-25-6
                                     *
THOMAS C. GOLDSTEIN,                 *
                                     *
          Defendant.                 *
                                 ********

               DEFENDANT THOMAS C. GOLDSTEIN’S
MOTION TO INVALIDATE CERTAIN ORDERS SUSPENDING THE STATUTE OF
                        LIMITATIONS
         Case 8:25-cr-00006-LKG                         Document 116                   Filed 04/18/25                Page 2 of 33



                                                    TABLE OF CONTENTS
                                                                                                                                             Page

INTRODUCTION ...........................................................................................................................1
BACKGROUND .............................................................................................................................2
I.        THE MONTENEGRIN BANK AND TRANSFERS INVOLVING “FOREIGN
          GAMBLER 3.” ....................................................................................................................2
II.       THE SUSPENSION OF THE LIMITATIONS PERIOD UNDER SECTION
          3292......................................................................................................................................4
ARGUMENT ...................................................................................................................................5
I.        THE SUSPENSION APPLICATIONS DEPEND ON TWO SETS OF
          MATERIAL FALSEHOODS. .............................................................................................7
          A.         The false representations about the 2016 “loan,” Mr. Goldstein’s failure to
                     pay taxes, and the Malaysian payment ....................................................................7
          B.         The false representations about Mr. Goldstein’s disclosure of the
                     Montenegrin accounts. ...........................................................................................10
II.       THE SUSPENSION APPLICATIONS RELY ON STILL MORE
          FALSEHOODS BY AGENT ACCARDI. ........................................................................13
          A.         Agent Accardi knew that Mr. Goldstein did not hire employees who did
                     no work. .................................................................................................................14
          1.         Employee 1 ............................................................................................................15
          2.         Employee 2 ............................................................................................................17
          3.         Employee 3 ............................................................................................................18
          4.         Employee 4 ............................................................................................................20
          B.         Agent Accardi knew that Mr. Goldstein did not willfully evade taxes by
                     redirecting income from his law firm to personal uses. .........................................22
          C.         Agent Accardi knew that Mr. Goldstein did not direct that personal
                     expenses be treated as deductible business expenses. ...........................................25
III.      THE COURT SHOULD ORDER DISCLOSURE OF THE RELEVANT GRAND
          JURY MATERIALS BEFORE ANY EVIDENTIARY HEARING.................................26
CONCLUSION ..............................................................................................................................30




                                                                         i
          Case 8:25-cr-00006-LKG        Document 116        Filed 04/18/25       Page 3 of 33



                                         INTRODUCTION

          Defendant Thomas Goldstein respectfully requests that this Court invalidate two orders

suspending the statute of limitations with respect to certain alleged offenses arising from the

2016 tax year. See Ex. A (October 31, 2023 Order); Ex. B (May 7, 2024 Order).

          Under 18 U.S.C. § 3292, a court may suspend the limitations period while the

government seeks a foreign government’s assistance in obtaining evidence that is located abroad.

Because the court issues the suspension order ex parte, review is deferred until it is disclosed to

the defense post-indictment. The court then may hold a contested evidentiary hearing. If the

order is invalidated, the evidence is not suppressed; instead, the statute of limitations is not

tolled.

          Beginning with the earliest days of this investigation in 2020, the government was well

informed of the facts relating to (1) Mr. Goldstein’s bank accounts in Montenegro, and also (2)

the funds that he transferred from those overseas accounts to his U.S. law firm’s bank account in

2016. Years later, the prosecution twice sought the government of Montenegro’s assistance in

obtaining documents from the Montenegrin bank that held those accounts. In turn, prosecutors

applied ex parte for orders suspending the statute of limitations on certain offenses relating to

Mr. Goldstein’s 2016 taxes. Each application was supported principally by a sworn declaration

of IRS Special Agent Andrew Accardi. The Court granted the requested orders.

          Those applications and accompanying declarations were based on material

misrepresentations and outright falsehoods. The defense summarized some of these falsehoods

— those that the government has already admitted — in its reply brief in support of its

emergency motion for grand jury discovery. ECF No. 96, at 12-13. The government then filed a

sur-reply at the Court’s direction, but nonetheless refused to explain those false statements

pending the filing of this further motion. ECF No. 102, at 11-12.


                                                  1
       Case 8:25-cr-00006-LKG          Document 116        Filed 04/18/25      Page 4 of 33



        As set forth below, those misrepresentations and falsehoods in the applications and

accompanying declarations warrant invalidation of the two orders tolling the statute of

limitations. The defense requests an evidentiary hearing on this motion to question Agent

Accardi. Prior to that hearing, the Court should order the government to disclose statements by

Agent Accardi on the topics discussed in his declarations (including his grand jury testimony), as

well as any other evidence that is inconsistent with any statement in Agent Accardi’s

declarations. 1

                                        BACKGROUND

I.      THE MONTENEGRIN BANK AND TRANSFERS INVOLVING “FOREIGN
        GAMBLER 3.”

        In 2016, Mr. Goldstein opened bank accounts for himself and his law firm at UCB Bank

in Montenegro. He did so because a significant client and personal friend — identified in the

Indictment as Foreign Gambler 3 — had assets in that bank, not in the United States. See Ex. C,

¶ 17 (memorandum of October 14, 2020 interview with Mr. Goldstein by Agent Accardi).

        In the October 2020 interview, Mr. Goldstein told Agent Accardi that he had instructed

the firm office manager to ensure that the Montenegro accounts were reported to the accountants

who handled both Mr. Goldstein’s personal tax returns and the law firm tax returns. Emails

provided by Mr. Goldstein to Agent Accardi corroborated that assertion. As the emails showed,

the firm officer managers unambiguously directed the accountants to disclose the Montenegrin

bank accounts. Documents produced by Mr. Goldstein also showed that he himself directed the




1
        The invalidity of the tolling orders affects the timeliness of certain counts in the
Indictment related to the 2016 tax year. The defense expects to file a motion to dismiss those
charges pending the resolution of this motion on or before the pretrial motions deadline. Because
the validity of the 3292 orders is a legal rather than factual question, it is properly decided on a
motion to dismiss. E.g., United States v. Ratti, 365 F. Supp. 2d 649 (D. Md. 2005).


                                                 2
      Case 8:25-cr-00006-LKG          Document 116         Filed 04/18/25     Page 5 of 33



office managers to inform the accountants about transactions through the Montenegrin accounts,

underscoring that Mr. Goldstein knew the accountants were aware of the Montenegrin accounts.

But the accountants failed to disclose the Montenegrin accounts on the personal or firm tax

returns through their own negligence: the lead accountant’s home flooded; that distraction caused

him to ignore the accounts. See Ex. D, at 2 (email between accountants admitting that the office

manager “did send me an email regarding [the Montenegro accounts]. I was dealing with my

house flood and they never mentioned it again so it was forgotten.”). 2

       That same year, Foreign Gambler 3 deposited the equivalent of just over $1 million in

Mr. Goldstein’s personal Montenegrin bank account. See id. at 4 (bank statement). Mr. Goldstein

then promptly wired $885,000 to the firm’s U.S. bank account (via initial transfers to the firm’s

Montenegrin account). See id. at 4, 10 (bank statements). Mr. Goldstein properly declared as

income the $885,000, which was taxed as such. See Ex. E (“Third 3292 Application”), at 2 n.1.

       The prosecution team (and Agent Accardi in particular) was very familiar with those

undisputed facts. In November and December 2020, Mr. Goldstein and his law firm Goldstein &

Russell produced to the government an array of relevant documents including bank statements

for the Montenegro accounts and email exchanges with the firm accountants. In May 2021,

defense counsel met with the then-assigned prosecutors and Agent Accardi to walk them through

the evidence.




2
        The accountants’ inexplicable failure to follow the firm’s repeated instructions to disclose
the Montenegro bank accounts is just one example of the numerous significant errors committed
by the accountants, some of which are nonetheless charged in the Indictment as felonies willfully
committed by Mr. Goldstein. See also infra at 9 (describing accountants’ failure to follow
instruction to report income from Malaysia); id. at 24 (describing the accountants’ admitted
destruction of tax documents reflecting income received from other firms).


                                                 3
      Case 8:25-cr-00006-LKG          Document 116          Filed 04/18/25    Page 6 of 33



       At that meeting, defense counsel voluntarily disclosed that a small portion of the funds in

the Montenegro accounts was not transferred to the United States and was mistakenly omitted

from Mr. Goldstein’s declared income — an error that Mr. Goldstein’s accountants would not

have made if they had followed instructions and paid attention to the accounts in the first place.

See Ex. F, at 2. Defense counsel suggested discussing a civil resolution of that error. The

prosecutors (none of whom has entered an appearance in this case) advised defense counsel that

this issue would be discussed at a future meeting. No such meeting was ever scheduled, and

defense counsel’s repeated inquiries to the U.S. Attorney’s Office about discussion of a civil

resolution were ignored.

       Thus, by May 2021, Agent Accardi was fully aware that: (1) the accountants had been

instructed to disclose the Montenegro bank accounts; (2) Mr. Goldstein’s own emails show that

he knew and believed that the Montenegrin accounts had been disclosed to the accountants; (3)

the vast majority of the funds deposited in the Montenegro accounts in 2016 were properly

reported as income; and (4) Mr. Goldstein through counsel had voluntarily identified the funds

that had inadvertently not been reported and offered to resolve any outstanding tax liability.

II.    THE SUSPENSION OF THE LIMITATIONS PERIOD UNDER SECTION 3292.

       Under 18 U.S.C. § 3292, a court may enter an order tolling the statute of limitations for

an offense while the government seeks a foreign government’s assistance gathering evidence. To

obtain such an order, the prosecution submits an ex parte application. But the prosecution may

not proceed merely by “proffer.” Section 3292 requires a finding “by a preponderance of the

evidence” that it reasonably appears that relevant evidence is located abroad. Therefore, the

prosecution must include with its application actual supporting proof — generally an agent’s

sworn declaration. United States v. Jenkins, 633 F.3d 788, 797-98 (9th Cir. 2011) (citing United

States v. Trainor, 376 F.3d 1325, 1331 (11th Cir. 2004)).


                                                 4
      Case 8:25-cr-00006-LKG            Document 116       Filed 04/18/25      Page 7 of 33



       The government’s investigation in this case included potential offenses relating to Mr.

Goldstein’s 2016 taxes. Unless tolled, the limitations period for willful tax violations is at most

six years. 26 U.S.C. § 6531. In April 2023, Mr. Goldstein declined the government’s request to

enter into a tolling agreement for these offenses. Without more, the limitations period would

therefore have expired in October 2023 — six years after Mr. Goldstein filed his 2016 taxes. See

ECF No. 1, at 41 (Indictment alleging a filing date of October 16, 2017).

       In late-September 2023, the government began seeking Montenegro’s assistance in

securing documents from UCB Bank. Two requests are relevant here. The first sought records

related to the accounts of Mr. Goldstein and his firm. See Ex. G (October 27, 2023 application)

(“First 3292 Application”). The second sought records related to the accounts of Foreign

Gambler 3. See Ex. H (May 6, 2024 application) (“Second 3292 Application”).

       The government submitted ex parte applications under Section 3292 seeking tolling with

respect to both requests. Each application was supported principally by a sworn declaration

submitted by Agent Accardi, which in turn was largely parroted by the application itself. See Ex.

G, at Ex. A (“First Accardi Decl.”), 1-5; Ex. H, at Ex. A (“Second Accardi Decl.”), 1-8. Both

requests were granted. See Exs. A, B.

                                          ARGUMENT

       Tolling orders obtained by the government pursuant to 18 U.S.C. § 3292 are subject to

post-indictment review. Indeed, adversarial testing of those ex parte orders provides the due

process that makes the statutory scheme constitutional. The tolling orders are valid only if

supported by a “preponderance of the evidence,” id., which of course cannot exist if the

supporting affidavits are false. See Trainor, 376 F.3d at 1331 (preponderance standard requires

that evidence “must tend to prove or disprove the existence of a material fact”); cf. Ratti, 365 F.

Supp.2d 649 (government ceased relying on application to foreign government, where it


                                                  5
      Case 8:25-cr-00006-LKG           Document 116         Filed 04/18/25      Page 8 of 33



conceded that representation that the application had been previously submitted was

inadvertently false). Courts have recognized that a tolling order obtained based on an application

that was not accompanied by a sworn declaration is invalid. Trainor, supra. Strict adherence to

the requirements of Section 3292 is necessary because “in an ex parte proceeding the Court

needs to protect the absent defendant’s rights and because a statute of limitations is meant to

protect against overly stale criminal charges and potentially unreliable witnesses. A decision to

toll, therefore, should be carefully made.” Ratti, 365 F. Supp.2d at 658. Where the defense

substantially contests the prosecution’s ex parte factual representations, the district court holds

an evidentiary hearing. See, e.g., United States v. Wilson, 249 F.3d 366, 372-73 (5th Cir. 2001)

(holding that it was error not to hold an evidentiary hearing where a defendant “raise[d] a factual

issue” relating to the validity of a tolling order under section 3292 and remanding for purposes of

an evidentiary hearing), abrogated on other grounds by Whitfield v. United States, 543 U.S. 209

(2005); see also, e.g., United States v. Kachkar, No. 16-20595-CR, 2018 WL 6933159, at *1

(S.D. Fla. Dec. 19, 2018) (noting that the court conducted an evidentiary hearing after the

defendant argued that the government failed to comply with section 3292 and that the

government’s application was pretextual), report and recommendation adopted, No. 16-20595-

CR, 2019 WL 116864 (S.D. Fla. Jan. 4, 2019); United States v. Bogucki, 316 F. Supp. 3d 1177,

1183 (N.D. Cal. 2018) (“[T]he defense was entitled to an evidentiary hearing to inquire into the

government’s true motivations for obtaining the [tolling] order.”); United States v. Titterington,

354 F. Supp. 2d 778, 789 (W.D. Tenn. 2005) (“[A] hearing as to whether the government

complied with the requirements of § 3292 is appropriate based on Defendants’ arguments.”).

       As discussed below, the applications at issue here do not meet this standard. Those

applications depended on and largely parroted sworn declarations signed by Agent Accardi that




                                                  6
      Case 8:25-cr-00006-LKG            Document 116         Filed 04/18/25      Page 9 of 33



rested on false and misleading factual assertions. Those declarations therefore do not provide the

reliable evidence required by Section 3292. As a consequence, the tolling orders are invalid.

I.     THE SUSPENSION APPLICATIONS DEPEND ON TWO SETS OF MATERIAL
       FALSEHOODS.

       The applications at issue requested tolling of the statute of limitations based on requests

to the government of Montenegro for assistance obtaining bank records. The applications

represented to the Court that those records were relevant to the government’s investigation for

two principal reasons: (1) to determine whether Mr. Goldstein had used the Montenegrin

accounts to avoid taxes; and (2) to determine whether Mr. Goldstein willfully failed to report the

Montenegrin bank accounts. This connection between the requested evidence and the offenses

under investigation by the grand jury was critical, as the evidence sought must be “reasonably

specific to elicit evidence of the . . . violations then under investigation by the grand jury.”

United States v. Michel, 2019 WL 5797669, at *9 (D.D.C. Nov. 6, 2019) (citation omitted). To

make that connection, both the applications and the accompanying declarations relied on a series

of factual representations that were deeply misleading or downright false.

       A.      The false representations about the 2016 “loan,” Mr. Goldstein’s failure to
               pay taxes, and the Malaysian payment

       The government sought tolling of the limitations period because the grand jury was

supposedly seeking to determine whether Mr. Goldstein “may have used the UCB accounts to

further hide his income from the IRS and further evade U.S. taxes.” First Accardi Decl. ¶ 14; see

also Second Accardi Decl. ¶ 18. In support of that assertion, the government represented that Mr.

Goldstein had falsely claimed in his October 2020 interview attended by Agent Accardi that the

$1 million transfer in 2016 from Foreign Gambler 3 to Mr. Goldstein was a loan: “when criminal

law enforcement agents from the IRS [including Agent Accardi] questioned Goldstein [about the




                                                   7
     Case 8:25-cr-00006-LKG           Document 116         Filed 04/18/25    Page 10 of 33



funds] he stated that they were loans from [Foreign Gambler 3] to pay Goldstein’s personal

income taxes.” Second 3292 Application ¶ 13.

       That was an outright falsehood, as the government later admitted. In a third suspension

application, filed in July 2024, the prosecution was forced to confess that Mr. “Goldstein did not

claim that the 2016 UCB transfers were loans.” Third 3292 Application, at 2 n.1. But even in

making that admission, the government did not acknowledge to the Court that its original false

“loan” claim was an essential premise of the initial tolling applications.

       The contrast between the application and declaration on this point strongly suggests that

the government made a knowingly false representation. Whereas virtually every other factual

allegation in every other application tracks a parallel representation in the accompanying

declaration, this (false) “loan” allegation is not mentioned in Agent Accardi’s declaration. That

left this allegation without any evidentiary support—a flat violation of Section 3292. The defense

intends to determine the reason for this discrepancy at the evidentiary hearing.

       Agent Accardi did, however, reinforce the application’s false assertion that Mr. Goldstein

had claimed the money was a “loan” by falsely stating that Mr. Goldstein did not report as

income the approximately $1 million deposited in the Montenegro accounts by Foreign Gambler

3 in 2016. Second Accardi Decl. ¶ 17. As the government was forced to admit, this assertion was

false too. Third 3292 Application, at 2 n.1.

       In fact, as the bank records produced by Mr. Goldstein in November 2020 and discussed

by Mr. Goldstein’s counsel at the May 2021 meeting clearly show, Mr. Goldstein paid taxes on

the vast majority of those funds. See Ex. F, at 2. Mr. Goldstein’s counsel moreover offered to




                                                 8
      Case 8:25-cr-00006-LKG          Document 116         Filed 04/18/25      Page 11 of 33



discuss a civil resolution of any outstanding obligation on the remaining funds, which were

inadvertently omitted. 3

       Agent Accardi also added an additional supposed basis for asserting that the Montenegrin

records “will help the U.S. authorities assess whether Goldstein conspired with [Foreign

Gambler 3] to have income due and owing to Goldstein to be directed or filtered through

[Foreign Gambler 3] — using [Foreign Gambler 3’s] UCB account(s).” Second Accardi Decl.

¶ 27. Agent Accardi represented that “the investigation has revealed that income due and owing

to Goldstein was sent by certain foreign officials in Malaysia to [Foreign Gambler 3].” Id.

       In fact, that was untrue. In 2018, Mr. Goldstein was paid directly $500,000 in cash in

Malaysia by that country’s government. Mr. Goldstein immediately had an intermediary deliver

the cash to partially repay a loan Mr. Goldstein had received from Foreign Gambler 3 in 2018.

(As discussed, the earlier 2016 deposit from Foreign Gambler 3 was income, not a loan. See

supra at 3.) When Mr. Goldstein returned to the United States, he directed the law firm’s

manager to be sure the accountants included the $500,000 as taxable income, because it would

not show up in the law firm’s accounts and indeed would be entirely untraceable by the IRS. See

Ex. F, at 2 (Mr. Goldstein: “I got $500k in income from Malaysia that went to someone else

overseas (as loan repayment) and never came into our bank account. So we need to record it as

income even though there isn’t a record of it happening.”). The accountants failed to do that,




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        The government noted that Mr. Goldstein had not reported as income the $125,000 that
remained in the Montenegrin account. Second Accardi Decl. ¶ 17. It described that failure as
nefarious. But it failed to disclose that it was Mr. Goldstein himself who had voluntarily raised
the issue, recognized his responsibility, and immediately offered to resolve it. But in any event, it
was Agent Accardi’s false representation that Mr. Goldstein had not reported any of the money
as income that had supported the applications’ representation that Mr. Goldstein had claimed that
the funds from Foreign Gambler 3 were a loan.


                                                 9
      Case 8:25-cr-00006-LKG           Document 116        Filed 04/18/25       Page 12 of 33



either, despite contemporaneous emails showing that the office manager conveyed the message

to the accountants at Mr. Goldstein’s express instruction. Ex. D, at 2-3.

       That conduct by Mr. Goldstein — specifically making sure that the accountants declared

as income a large amount of money that otherwise would be utterly untraceable — was the exact

opposite of an attempt to evade taxes. By contrast, Agent Accardi both misdescribed and

mischaracterized the events as a scheme under which Malaysia gave the money to Foreign

Gambler 3 to avoid Mr. Goldstein being associated with the funds and thereby evade taxation.

       Agent Accardi inserted this allegation at the end of his affidavit, seemingly entirely out of

context. It supposedly supported the grand jury’s inquiry into whether Mr. Goldstein had used

Foreign Gambler 3’s accounts to hide his income. In that sense, the Malaysia allegation replaced

the “loan” allegation that appeared in the application but that Agent Accardi omitted from his

declaration. But in another significant departure from the prosecution’s practice, the application

itself does not include this assertion about the funds from Malaysia. This inconsistency suggests

that Agent Accardi made a last-minute change to his affidavit to avoid personally making a false

sworn representation about the loan, while nonetheless leaving it in the prosecution’s application

to the Court.

       B.       The false representations about Mr. Goldstein’s disclosure of the
                Montenegrin accounts.

       The government sought suspension of the limitations period with respect to the 2016 tax

year on the further ground that the grand jury was supposedly investigating whether Mr.

Goldstein had “[w]illfully fail[ed] to file a report [sic] the ownership or control of, or signatory

authority, or other authority over,” the Montenegrin accounts. Second 3292 Application, ¶ 1

(emphasis added); see also Second Accardi Decl. ¶ 1; First 3292 Application ¶ 1; First Accardi

Decl. ¶ 2. In support, Agent Accardi represented that Mr. Goldstein “failed to file FBARs



                                                  10
     Case 8:25-cr-00006-LKG          Document 116         Filed 04/18/25     Page 13 of 33



[Foreign Bank Account Reports] for these four Montenegrin bank accounts for the years 2016

through 2020 and failed to report these bank accounts on the Schedule B to his income tax

returns.” First Accardi Decl. ¶ 15; see also Second Accardi Decl. ¶¶ 1, 14 & n.1; First 3292

Application ¶ 6; Ex. H, at 1, ¶ 9. Agent Accardi explained that “personnel from Goldstein’s firm

informed his outside accountants of one or more of the UCB accounts.” First Accardi Decl. ¶ 14

n.1. But by contrast, Mr. Goldstein himself supposedly “made statements to an agent from the

Internal Revenue Service [i.e., Agent Accardi] in which he indicated, in substance and part, that

he was unaware of the FBAR filing requirement.” Second Accardi Decl ¶ 16; see also Second

Accardi Decl. ¶ 19; First 3292 Application ¶ 7.

       Agent Accardi relied heavily on the allegation that Mr. Goldstein had purposefully failed

to disclose the Montenegrin accounts. He asserted: “Goldstein’s repeated failures to properly

report the UCB accounts on FBARs reinforces the suspicion that he was using the accounts to

hide his income from the IRS and evade payment and/or assessment of U.S. taxes.” Second

Accardi Decl. ¶ 18; see also First Accardi Decl. ¶ 14.

       Agent Accardi’s repeated representation that Mr. Goldstein had intentionally failed to

disclose the Montenegrin accounts, and had moreover claimed not to even know he was required

to do so, was false. From the earliest days of the investigation, Agent Accardi in fact knew that

the office managers had disclosed the accounts to the accountants. Agent Accardi also knew that

Mr. Goldstein had instructed the office managers to report transactions in the Montenegrin

accounts to the accountants, and therefore Mr. Goldstein obviously was aware that the accounts

had been disclosed to the accountants. The documents showed that the accountants themselves

acknowledged that the failure to disclose the accounts was their fault, not Mr. Goldstein’s. See

supra at 2-3.




                                                  11
     Case 8:25-cr-00006-LKG           Document 116        Filed 04/18/25      Page 14 of 33



       Agent Accardi artfully worded his declarations to avoid disclosing this critical fact to the

Court. Thus, Agent Accardi advised the Court that “personnel from Goldstein’s firm informed

his outside accountants” about the Montenegro bank accounts, Second Accardi Decl. ¶ 14 & n.1,

while omitting the fact that Mr. Goldstein told the office managers to disclose transactions in the

Montenegrin accounts to the accountants.

       The government was obviously persuaded by these contemporaneous emails. Between

December 2023 and May 2024, the government served Goldstein & Russell with numerous

document subpoenas demanding communications concerning a variety of matters, yet the

government never requested firm communications regarding disclosure of the Montenegrin

accounts. The firm’s emails obviously would be the likeliest source of evidence concerning Mr.

Goldstein’s intent. The fact that the government chose not to subpoena emails concerning the

Montenegrin accounts shows that by December 2023 even the government no longer seriously

believed that there was any basis to pursue criminal charges against Mr. Goldstein for failure to

disclose the accounts.

       Again, Agent Accardi was intimately familiar with all of this. In his October 2020

interview with Agent Accardi, Mr. Goldstein explained the instructions to his staff and provided

the relevant emails, which were attached to Agent Accardi’s interview report. See Ex. C, at 18.

And in May 2021, defense counsel walked the prosecution team, including Agent Accardi,

through those emails. See Ex. F. Nor were these some inconsequential details that might have

slipped Agent Accardi’s mind: They went directly to the entire stated purpose for opening the

investigation in the first place. See supra at 3. Under these circumstances, the only possible

conclusion is that Agent Accardi intentionally withheld these key details from the Court in his

declarations.




                                                12
      Case 8:25-cr-00006-LKG          Document 116         Filed 04/18/25      Page 15 of 33



                                  *       *        *     *       *

       Taken together, these false and misleading factual assertions in the applications and

accompanying declarations, as well as the mysterious and important discrepancies between the

second application and the second declaration on key points, warrant an evidentiary hearing to

determine whether the orders obtained by the government based on the flawed applications and

declarations should be set aside. The defense requests that the Court order Agent Accardi to

testify at that hearing, and that the Court order the government to disclose to the defense

evidence all relevant testimony by Agent Accardi, as well as any documents in the government’s

possession that contradict any of the factual allegations in the applications and declarations, in

advance of the hearing. 4

II.    THE SUSPENSION APPLICATIONS RELY ON STILL MORE FALSEHOODS
       BY AGENT ACCARDI.

       The suspension applications represented that Mr. Goldstein had engaged in various

willful tax crimes, to support the allegation that he might have hidden additional income in the

UCB accounts. Agent Accardi specifically identified three offenses. Second Accardi Decl. ¶ 2.

With respect to each, Agent Accardi’s factual representations were — yet again — either

outright false or at least extremely misleading.




4
        The government also sought tolling with respect to the 2016 tax year on a third basis: the
grand jury was investigating whether Mr. Goldstein in fact controlled Foreign Gambler 3’s UCB
accounts, but had unlawfully failed to report them on his taxes. In particular, the grand jury was
allegedly exploring whether Mr. Goldstein potentially “routed payments from other law firms
and clients, or gambling winnings, through Foreign Gambler 3’s UCB accounts back to himself
in order to conceal income that should have been reported to the IRS.” Second 3292 Application
¶ 14. This third rationale rested on the first two: that Mr. Goldstein had represented that the 2016
funds were a loan, and had moreover purposefully failed to disclose the Montenegrin accounts.
As discussed, the assertions underlying this allegation were either outright false or grossly
misleading.


                                                   13
      Case 8:25-cr-00006-LKG            Document 116       Filed 04/18/25     Page 16 of 33



        A.      Agent Accardi knew that Mr. Goldstein did not hire employees who did no
                work.

        First, Agent Accardi represented as fact that Mr. Goldstein “placed on his law firm’s

payroll young women with whom he appears to have been having intimate personal relationships

and paid them through the law firm, even though those women performed no work for the law

firm.” First Accardi Decl. ¶ 11; see also Second Accardi Decl. ¶ 9 (shifting slightly to allege “the

women performed little or no work”); Second 3292 Application, at 1 (alleging “sham

employment of his romantic partners”). The government seemingly concedes that its theory is

that the law firm was not entitled to deduct “the full salary and health insurance premiums”

because it believes the employees’ salaries were too high. ECF No. 102, at 12 (emphasis added).

That would be an unprecedented and breathtaking expansion of criminal tax law.

        Preliminarily, contrary to the prosecution’s submission, this is not a “mere disagreement”

with the evidence that amounts to just “a trial issue.” ECF No. 102, at 12. Agent Accardi’s sworn

declarations made these representations as statements of fact to fulfill the evidentiary

requirement of Section 3292 discussed above. Where, as here, those factual representations were

false and misleading, the government cannot rely on the tolling orders issued based on those

representations to toll the statute of limitations.

        Agent Accardi and the government knew from extensive document productions that this

allegation was false. Agent Accardi’s representations relate to four employees. The documents

summarized below, which were in the possession of the government before the second

application was submitted, show that three of the employees performed extensive work for the

firm. The fourth employee went on unpaid medical leave just days after she was scheduled to

begin working for the firm, and the firm’s office manager confirmed that the firm’s handling of




                                                      14
      Case 8:25-cr-00006-LKG            Document 116      Filed 04/18/25      Page 17 of 33



this employee’s medical leave was consistent with the requirements of the firm’s health

insurance plan. Agent Accardi’s declarations did not mention any of this evidence.

                    1.   Employee 1 5

        Employee 1 worked for the firm initially on a contract basis beginning in December

2017, then full-time from February 2 to March 31, 2018. See Ex. I, at 1, 2; see also id. at 3-5

(after Employee 1 was hospitalized after having a seizure while at work in the office, they went

on unpaid leave until April 25).

        Employee 1’s annual salary was $45,000, equivalent to just under $22 / hour — lower

than the national average hourly wage. Id. at 1. In total, they were paid $7,312.50 by the firm in

2018. Id. at 9. 6

        Employee 1 did extensive marketing and business development work arising from an

important Supreme Court antitrust case (Ohio v. American Express Co.). Employee 1, who had

their own marketing agency, was given principal responsibility for developing the strategy for

marketing the proposal to potential clients. E.g., id. at 14 (exchanges on proposal to use project

management tool Slack).




5
       The defense understands that the government received most of the underlying documents
referenced in this subsection directly from Employee 1 on May 6, 2024, the same day that the
government submitted its second application to toll the statute of limitations under Section 3292.
Yet the government either did not review the documents it had just received from Employee 1
before alleging that the employee did “no work for the law firm,” or the government reviewed
the documents and failed to disclose their import to the Court. In any event, Agent Accardi’s
declaration in support of the third application, filed two months after Employee 1’s production,
alleged that Employee 1 and others “performed little or no work for the law firm,” Third 3292
Application, at Ex. A ¶ 9, without mentioning the many documents to the contrary produced by
Employee 1.
6
         Although the firm’s initial meeting with Employee 1 to discuss becoming a direct
employee was on February 1, the firm took care not to start her salary until her precise February
2 start date “and prorate her February pay accordingly,” id. at 12.


                                                15
      Case 8:25-cr-00006-LKG            Document 116         Filed 04/18/25       Page 18 of 33



        Employee 1 began their work on this project on a contract basis in December 2017. They

initially identified retail industries with large credit card volumes, id. at 17-19, 21, a list they

revised and organized through additional research, id. at 22, 26, 27, 30, 33.

        Impressed by Employee 1’s work, the firm hired them full time. Within the firm, they

created, compiled, and revised a database of potential targets. E.g., id. at 35-41. They also

researched each of these companies’ general counsels and created accompanying biographies.

E.g., id. at 54, 55, 59, 127-28; see also, e.g., id. at 131 (narrowing to domestic general counsels);

id. at 132 (exchanges on how Employee 1 “did a really great job with this”). After developing an

initial database, Employee 1 developed tiers of potential clients with the largest gross revenue to

identify those with the largest claims. E.g., id. at 133-35. Employee 1 also identified the lines of

business with the largest proportion of business customers — who naturally would be most likely

to use American Express. id. at 137, 139. Employee 1 also researched and compiled a list of

media coverage of the American Express litigation. Id. at 140-43.

        Employee 1 was directly involved in the strategy for determining which companies were

most likely to accept American Express, and thus to have the largest potential claims. E.g., id. at

147, 149-50. This effort also included researching media coverage of the American Express

litigation. Id. at 151, 155, 160, 162, 164, 167.

        The firm consulted with multiple other law firms which represented retailers in related

litigation, to determine which already were represented by antitrust counsel. Working with the

firm’s staff attorney, id. at 169-70, Employee 1 revised the database to remove those companies,

e.g., id. at 171, 173, 177, 189-90.

        The firm collaborated with a trade association client to identify potential clients and

prepare to contact them. It used Employee 1’s database, which the trade association notated to




                                                   16
     Case 8:25-cr-00006-LKG             Document 116        Filed 04/18/25      Page 19 of 33



identify its members. E.g., id. at 191-92, 193-250. Employee 1 in turn revised the database to

focus on the members as potential targets. Id. at 251-57.

          Employee 1 also worked extensively on potential marketing. They researched Internet

domains for a website to describe the claim acquisition. id. at 258-59. They developed and

revised both the design and the content for the website. E.g., id. at 260-91. They also assisted in

developing a strategy under which multiple retailers could be invited to attend in-person

meetings on the proposed strategy. They sorted and divided the potential clients geographically.

E.g., id. at 292-98. They then prepared marketing materials for the in-person meetings. E.g., id.

at 299.

                 2.      Employee 2

          Employee 2 worked for the firm from April 20 to July 13, 2018. Ex. J, at 1, 3, 4. This was

soon after Employee 1 had left the firm for medical reasons, leaving the project uncompleted.

See supra. As explained in an introductory email to Employee 2, they were hired to “finish

[Employee 1’s] project. It involves the companies in the spreadsheet. We need a summary about

the company and then the general counsel (who is their lead lawyer).” id. at 7, 8, 10.

          Employee 2 started as a part-time employee at a salary of $26,000, id. at 43, then later

converted to full-time “as we ramp up AmEx for the next couple of months” for the Supreme

Court’s ruling that would lead to the project’s implementation, id. at 45. The equivalent hourly

rate was just under $22 / hour — again, less than the average national hourly wage. In total, they

received $10,949 in income. Id. at 46.

          Over their period of employment, Employee 2 continued and expanded on all of

Employee 1’s work. For example, they researched, collected, and organized materials related to

the general counsels of target businesses. Id. at 52, 53, 61, 129. They also developed additional

materials related to meetings with target businesses. Id. at 142.


                                                  17
      Case 8:25-cr-00006-LKG          Document 116         Filed 04/18/25      Page 20 of 33



       Employee 2’s work concluded when the Supreme Court surprisingly decided Ohio v.

American Express 5-4 in favor of the defendants. That ruling eliminated any potential follow-on

litigation by private plaintiffs. After the firm concluded that the project could not go forward,

Employee 2 was promptly removed from the payroll. Id. at 143. The firm took care to ensure she

only received “a prorated salary . . . because [they] stopped working for us in mid-July.” Id. at

144. They were also promptly removed from the firm’s health insurance. Id. at 145, 146; see id.

at 147 (“Tom let me know that the AmEx case finished. So we will close out your payroll as of

this past week. I will send you a healthcare termination letter tomorrow; you will have coverage

effective through the end of July. It’s been good working with you.”).

                 3.    Employee 3

       Employee 3 worked part-time for the law firm from April 20 to August 31, 2018. Ex. K,

at 1, 3. Their annual salary was $26,000, equivalent to $25 / hour — again, less than the average

national hourly wage. Id. at 8-9. In total, they were paid $9,388.90. Id. at 10-15. Their hours

increased only when there was additional work to do. Id. at 16-17. The firm and Employee 3

took care to ensure that the work balanced out through busier and less-busy periods, and they

were paid appropriately. E.g., id. at 18 (Q: “Did you work extra hours so that I owe you more

money?” A: “I did some weeks, but I worked less the last couple of weeks so I think it works out

to be even.”).

       Employee 3 worked for the firm on a major Supreme Court copyright case (Google LLC

v. Oracle America, Inc.) in which Mr. Goldstein was lead counsel for Google. The firm thus

hired them for a “regular, research job” about “a lawsuit between Google and Oracle.” Id. at 19;

see also id. (providing introductory articles on the case). Specifically, they compiled a

comprehensive list of ongoing opinionated media coverage related to the case, including details

of the publication; the author; the date; the nature of the piece as news or opinion; whether the


                                                 18
      Case 8:25-cr-00006-LKG          Document 116         Filed 04/18/25      Page 21 of 33



piece favored Google; notable quotes; and information about the author. Id. at 20-32. They then

created a comprehensive database of interested reporters. E.g., id. at 33 (Mr. Goldstein: “I would

like you please to put together a pretty comprehensive list of reporters who are writing about the

case. Please collect their name, their publication, and their contact email. That’s going to require

you to go back to some of the articles you skipped because they were just straight reporting.”).

       Employee 3 dutifully performed this work. They shared the first version of the media

compilation on April 26. Id. at 34. They transmitted a further version on May 9. Id. at 35.

Another version was transmitted on May 15. Id. at 36.

       Subsequent revisions were conducted throughout Employee 3’s time with the firm within

a shared Google document. They regularly corresponded with Mr. Goldstein to ensure the

project was being done correctly. E.g., id. at 37 (asking for input on “the last entry on the

workbook” and requesting “a quick Skype call tonight to make sure we are on the same page”);

id. at 38 (“So far I’ve been including Law Firms that publish articles about the case on their

business webpages . . . but is that relevant to you?”). Both the document’s contents and the

version history show that Employee 3 constantly updated the document. Id. at 39 . They

ultimately compiled this information for 178 separate articles, dating back to 2011, locating the

contact information for each author. Id. at 20-32.

       On behalf of the firm, Employee 3 located, studied, and subscribed to third-party services

to locate the contact information for the authors of various articles. They secured a law firm

email address for that purpose. Id. at 40; see also id. at 41 (records showing 203 messages from

the firm account). The record contains communications to that effect in June. (See, e.g., id. at

42, 45, 48.)




                                                 19
      Case 8:25-cr-00006-LKG          Document 116        Filed 04/18/25      Page 22 of 33



        The firm integrated Employee 3 directly into their work with the client and the client’s

outside media consultant. On June 4, the media team was granted access to the document. Id. at

50.

        Employee 3 left the firm when they finished the project. Id. at 51 (“Now is probably a

reasonable cut off. I feel like anything further is almost so deep it doesn’t matter.”). When they

sought to extend their health insurance for a month, Defendant explained that they would need to

pay to do so themselves. Id.

        Long after Employee 3’s departure, their work product remained valuable. The firm

sought additional access to the document in January 2019. Id. at 53-54.

                4.      Employee 4

        Employee 4 was on the firm payroll from October 1, 2018, for five weeks. Ex. L, at 1, 3.

Their total income was $4,320. Id. at 7.

        Employee 4 performed no work because she immediately had to go on medical leave.

Just two days after being hired, Employee 4 advised the firm that she was seriously ill. On

October 3, she wrote to the firm’s manager: “I have to see [a] doctor today. And I have to go to

[the] ER.” Id. at 12. Through the end of November they were still “very busy with doctors

appoi[n]tments.” Id. at 15; see also id. at 16 (requesting insurance information “for [the] hospital

to resolve [a] future bill”).

        When Employee 4 was removed from the payroll, the firm promptly “processed [an]

insurance coverage” change, advising Employee 4 that they would “have coverage through the

end of the [sic] November,” but “we cannot keep you on the plan past November.” Id. at 15.

Employee 4 requested, however, that they be allowed to remain on the firm’s health insurance.

The firm’s manager had previously learned from the outside benefits manager that this was

permissible under governing law. Id. at 19, 26 (“No law requires [an employer] to PAY an


                                                 20
      Case 8:25-cr-00006-LKG          Document 116         Filed 04/18/25    Page 23 of 33



employee who is out on leave.”). The benefits manager had also confirmed this was permissible

under the firm’s health insurance policy. Id. at 19, 25 (Question: “Is there any requirement in our

health insurance contract?” Answer: “I looked in the CareFirst contract booklet and do not see

anything specific to timeframes for remaining covered during a leave of absence.”). Employee

4’s removal from the health insurance plan was therefore rescinded, but they were not returned to

the law firm’s payroll. Id. at 22.

        On December 26, 2018, the firm’s manager re-confirmed the benefit manager’s prior

advice. The benefits management company responded that the previously provided information

“is correct.” They explained: “I have addressed this very question many times over the last 20

years. . . . CareFirst does not specify the length of time an employee can be covered while on

leave of absence (paid or unpaid).” Id. at 24. In turn, the firm’s manager advised Defendant that

Employee 4 “does not need to be paid to stay on healthcare, according to our insurance reps.” Id.

at 28. Defendant responded, “Ok.” Id.

        In this period, the firm transitioned between two managers. The ongoing firm manager

explained that Employee 4 was on “unpaid leave” due to “a chronic illness,” so that the firm

should “continue to pay the bills” for health insurance. Id. at 32.

        The firm removed Employee 4 from its health insurance once again on March 7, 2019. Id.

at 41. But Employee 4 again asked to remain on the plan, this time promising to reimburse the

firm for the premiums. They were then reinstated on April 5, 2019. Id. at 43.

        At the start of 2020, Mr. Goldstein instructed the firm manager that Employee 4 be

removed from the firm’s health insurance. But that was not done due to an “error[]” by the

manager, who “assumed that would be done automatically.” Id. at 44 (January 24, 2020). That




                                                 21
      Case 8:25-cr-00006-LKG         Document 116        Filed 04/18/25      Page 24 of 33



resulted in an extension of the insurance for three months, at which point they were removed

from the plan. Id. at 46, 47.

       These documents were all in the government’s possession when the second application

was submitted to the Court. The documents show that Agent Accardi’s representation to the

Court that these employees did no work was thus transparently and obviously false. Yet Agent

Accardi’s declarations did not mention them.

       B.      Agent Accardi knew that Mr. Goldstein did not willfully evade taxes by
               redirecting income from his law firm to personal uses.

       Agent Accardi next asserted that the government’s tolling applications were supported by

the fact that Mr. Goldstein supposedly “diverted millions of dollars from his law firm, G&R, to

pay for personal expenses.” First Accardi Decl. ¶ 11; Second Accardi Decl. ¶ 9. In particular,

Agent Accardi represented that Mr. Goldstein “allow[ed] [a] New York law firm to offset

$125,000 in fees that the New York law firm owed to G&R” and “directed [a] California-based

firm to send [a $250,000] fee to his personal bank account.” Second Accardi Decl. ¶¶ 11-12; see

also Second 3292 Application ¶¶ 6-8.

       These representations were grossly misleading, because there is no basis to assert that

Mr. Goldstein sought to avoid his tax liability through these transactions. Agent Accardi knew

from interviews of G&R office managers and the accountants, as well as the law firm’s

voluminous document production, that Mr. Goldstein himself reported income to the accountants

only in unusual circumstances (such as the payment from Malaysia). Instead, the accountants

determined the amount of taxable income through financial records. With respect to these

specific two transfers, the law firms in question were legally required to document the payments

formally to both the IRS and Mr. Goldstein law firm. The law firm’s accountants were in turn

professionally obligated to account for those disclosures in determining its taxable income.



                                                22
      Case 8:25-cr-00006-LKG           Document 116        Filed 04/18/25      Page 25 of 33



       By law, a party must record any material compensation that it pays to a law firm on a

form 1099-NEC. (Law firms are an exception to the ordinary rule that corporations do not

receive 1099-NECs.) This document is known as an “information return.” 26 C.F.R. 1.6045-

5(a)(1). The payor must both file that form with the IRS and provide it to the payee. Id. 1.6045-

5(a)(3)(i) (“A person required to file an information return under paragraph (a)91) of this section

must furnish to the attorney a written statement of the information required to be shown on the

return.”) (emphasis added). This obligation is unaffected by the mechanism by which the

compensation is paid — such as the bank account into which money is wired, if any. Instead, a

form 1099-NEC is required with respect to the beneficial owner of the income; its entire purpose

is to create a record of who must pay the resulting taxes. IRS regulations thus provide (with

exceptions not applicable here) that a business that “makes payments aggregating $600 or more

during a calendar year to an attorney in connection with legal services . . . must file an

information return for such payments.” Id. 1.6045-5(a)(1) (emphasis added). The payor must

then “furnish to the attorney a written statement of the information required to be shown on the

return.” Id. 1.6045-5(a)(3); see also 26 U.S.C. § 6041A(a) & (e) (statutory authority); IRS

Instructions for Form 1099-NEC (“File Form 1099-NEC, Nonemployee Compensation, for each

person in the course of your business to whom you have paid the following during the year. At

least $600 in: . . . Payments to an attorney.”).

       For one transaction cited by Agent Accardi, the prosecution knew that the payor law firm

did provide Mr. Goldstein’s law firm with a 1099 that included the funds that were sent directly

to Mr. Goldstein’s personal account. See Ex. D, at 12. The failure to report this income is

therefore directly attributable to the accountants’ incorrect decision — which they admitted, see

supra at 3 n.2 (noting this pattern) — not to consult 1099s when calculating the firm’s income.




                                                   23
     Case 8:25-cr-00006-LKG           Document 116        Filed 04/18/25      Page 26 of 33



The accountants erroneously believed that law firms were subject to the ordinary rule that

corporations do not receive 1099s at all. They then took this view to the extreme of disposing of

those documents. See Ex. D, at 14 (accountant to G&R office manager: “I talked to [the lead

accountant] and he confirmed that as a corporation companies don’t need to issue 1099s to G&R

for services. You might get a few by mistake but don’t require them so we don’t keep them.”

(emphasis added)).

       For the other transaction cited by Agent Accardi, the government knew — from

documents received by subpoena — that the payor (like the accountants) also erroneously

believed that it was not required to provide a 1099-NEC to Mr. Goldstein’s firm. Ex. D, at 16

(Nov. 23, 2020 notice from payor firm’s accounts payable department: “If an entity is a legal

corporation, we are not required to file a 1099, however, we are required by law to have the

enclosed W-9 form on file.”). So in violation of its legal obligations, that firm never provided the

required tax document to Mr. Goldstein’s firm. During the course of this investigation, the payor

firm discovered its error. Id. at 17 (Jan. 23, 2021 email relating to “Goldstein & Russell, P.C.”

with subject “Didn’t we send 1099s last year”; staff member: “No we did not. . . . Yes they

should get one — I corrected the spreadsheet attached.”) The payor firm subsequently created

and filed the required 1099-NEC. Id. at 20 (Form 1099-NEC); id. at 21 (filed June 10, 2022); id.

at 22 (same); id. at 23 (same).

       There is of course no allegation that Mr. Goldstein expected that these sophisticated law

firms would violate their legal obligations to submit the required tax documents, much less that

he encouraged them to do so. There also is no allegation that Mr. Goldstein ever interfered with

his own firm’s transmission of tax documents to the accountants, or expected that the




                                                24
      Case 8:25-cr-00006-LKG         Document 116        Filed 04/18/25      Page 27 of 33



accountants would ignore them. Agent Accardi therefore knew that it was wildly misleading to

represent that Mr. Goldstein willfully avoided his taxes through these transactions.

       C.      Agent Accardi knew that Mr. Goldstein did not direct that personal expenses
               be treated as deductible business expenses.

       Agent Accardi finally asserted that tolling was supported by the fact that Mr. “Goldstein

caused $175,000 to be sent from the G&R bank account” to a New York firm to whom he owed

a personal debt. Second Accardi Decl. ¶ 11; see also Second 3292 Application ¶ 7. In turn,

“[t]hat $175,000 transfer was classified as a G&R ‘legal fee’ expenses when, in reality, it was an

expense attributable to Goldstein personally, as a poker-related debt.” Second Accardi Decl. ¶

11.

       Once again, Agent Accardi’s representation that this transaction was an example of

willful tax evasion was grossly misleading. Of note, the agent’s declaration carefully uses the

word “caused” to create the knowingly false impression that Mr. Goldstein directed that the

payment be treated as business expense.

       The documents on which Agent Accardi relied in describing the $175,000 transfer in fact

prove the opposite: that Mr. Goldstein did not cause the transaction to be mischaracterized on the

law firm’s books. Instead, the law firm’s manager (who was also Mr. Goldstein’s assistant) made

an error. Mr. Goldstein instructed the manager: “Please wire $175k to [the firm]. We’ve sent

them money recently.” See Ex. M, at 1. That recent transaction was a $38,000 wire using

Defendant’s personal funds from his personal account. Ex. M, at 2. Instead of making the

subsequent payment the same way, from Mr. Goldstein’s personal account, the assistant wired

the funds from the firm account. Either the assistant or the accountants recorded the transaction

as a business expense. Defendant never suggested that they do either; nor (prior to the

investigation) was he ever told that had happened. It was grossly misleading to assert that Mr.



                                                25
       Case 8:25-cr-00006-LKG         Document 116         Filed 04/18/25      Page 28 of 33



Goldstein willfully caused this payment to be treated as a business expense, when Agent Accardi

knew that he never even instructed that it be made from the law firm’s account.

        No less important, Agent Accardi’s assertion that this one transaction supported tolling

the limitations period while the government sought evidence from Montenegro depended on the

claim that this was but one example. But the government had in its possession overwhelming

evidence that Mr. Goldstein uniformly instructed the law firm’s staff and accountants to always

correctly characterize personal expenses. For example, in an email exchange predating Mr.

Goldstein’s awareness of this investigation by several years, a firm employee told Mr. Goldstein

that the accountants had advised that classifying a particular payment as a personal distribution

rather than a business expense “will end up costing you around $220k in taxes.” Ex. N, at 4. Mr.

Goldstein responded that “it’s unfortunate. But we always play completely by the rules.” Id.

Attached to this motion is a compilation of two dozen additional examples in which Mr.

Goldstein directed that income and personal expenses be properly treated as such, most of which

were in the government’s possession at the time of the government’s second Section 3292

application. See Ex. N, at 1-2 (chart compiling examples alongside underlying documents). Yet

Agent Accardi presented the Court with this one example (falsely suggesting the

mischaracterization of the expense was intentional) and withheld all the rest. As noted, the

government has never identified a single instance in which Mr. Goldstein ever suggested that a

personal expense be treated as a deductible business expense. But Agent Accardi withheld that

information too.

III.    THE COURT SHOULD ORDER DISCLOSURE OF THE RELEVANT GRAND
        JURY MATERIALS BEFORE ANY EVIDENTIARY HEARING.

        For the foregoing reasons, the defense is entitled to an evidentiary hearing to test the

factual representations made by Agent Accardi and the prosecution in support of its applications



                                                 26
      Case 8:25-cr-00006-LKG           Document 116        Filed 04/18/25       Page 29 of 33



to toll the statute of limitations under Section 3292. See supra at 6. In preparation for that

hearing, Mr. Goldstein is entitled to disclosure of any statements by Agent Accardi concerning

the topics discussed in the declarations (including grand jury testimony), as well as any other

evidence that is inconsistent with any statement in Agent Accardi’s declarations.

       The failure of the government to satisfy the statute of limitations is of course a basis to

dismiss the relevant charges of the Indictment relating to the 2016 tax year. It is accordingly a

proper basis for the disclosure of grand jury testimony. Fed. R. Crim. P. 6(e)(3)(E)(ii).

       A request for disclosure of grand jury materials generally requires that the defense make

a showing of “particularized need.” Central to that inquiry is whether the defense is relying on

mere assertions or instead has demonstrated the substance of its allegations through evidence.

West v. United States, No. 08 CR 669, 2010 WL 1408926, at *5 (N.D. Ill. Apr. 5, 2010) (“Courts

finding that a defendant did not satisfy this requirement have done so where the defendant failed

to present evidence supporting his claim.” (collecting cases)).

       That standard is obviously satisfied here, through the detailed demonstrations above of

the prosecution’s multiple falsehoods — including those to which the government itself has

admitted. That particularized showing is further supported by the material discrepancies between

Agent Accardi’s sworn declarations and the applications discussed above.

       An especially compelling basis for disclosing grand jury testimony arises when the

defense establishes that a government agent’s representations have been false. See, e.g., United

States v. Red Owl, No. 5:16-CR-50163-03-JLV, 2019 WL 7811359, at *3 (D.S.D. Sept. 18,

2019) (“Here, the court is mindful of the prior findings regarding SA Lucas’ inaccurate

testimony, and finds that, combined with the inconsistencies alleged in the present case between

his affidavit and 302, provides a compelling necessity permitting the particularized need of SA




                                                 27
      Case 8:25-cr-00006-LKG          Document 116         Filed 04/18/25      Page 30 of 33



Lucas’ grand jury transcript.”). In turn, impeaching the credibility of a witness is perhaps the

single most accepted basis for disclosing grand jury materials to the defense. “Particularized

need is most often established when there is a need to impeach a witness, refresh his recollection,

or test his credibility.” United States, ex rel. Stone v. Rockwell Int’l Corp., 173 F.3d 757, 759

(10th Cir. 1999) (cleaned up); see also Dennis v. United States, 384 U.S. 855, 870 (1966); United

States v. Woody's Trucking, LLC, No. CR 17-138-BLG-SPW, 2018 WL 457781, at *1 (D. Mont.

Jan. 17, 2018) (citing United States v. Proctor & Gamble Co., 356 U.S. 677, 683 (1958);

Pittsburgh Plate Glass Co. v. United States, 360 U.S. 395, 400 (1959)).

       The fact that the defense has no other source of comparable impeachment evidence

substantially enhances the basis for disclosure. United States v. Moten, 582 F.2d 654, 663 (2d

Cir. 1978) (“Thus, it would seem that a party’s need varies in proportion to the degree of access

he has to other sources of the information he seeks.”). The fact that the underlying events

occurred eight years ago makes the disclosure of the testimony for impeachment purposes even

more appropriate. In re Catfish Antitrust Litig., 164 F.R.D. 191, 195 (N.D. Miss. 1995)

(“Relevant events reach several years into the past, and this court needs no authority to

acknowledge the occasional failure of the human mind to recall events with precise clarity. As

well, ‘[e]very experienced trial judge and trial lawyer knows the value for impeaching purposes

of statements of the witness recording the events before time dulls precious memory.’” (quoting

Jencks v. United States, 353 U.S. 657, 667 (1957)).

       Here, the grand jury is almost certain to have heard testimony on the topics discussed in

the declarations from Agent Accardi, who is the lead investigative agent. Agent Accardi’s

testimony very likely addressed the matters that the prosecutors and Agent Accardi

misrepresented to the Court. The very point of the Section 3292 applications was that the grand




                                                 28
      Case 8:25-cr-00006-LKG          Document 116         Filed 04/18/25      Page 31 of 33



jury was considering bringing charges on the basis of those supposed facts. Agent Accardi made

a variety of unequivocal false factual representations in support of the applications, and therefore

the transcript of his grand jury testimony on this topics is likely to include important evidence

that would impeach his sworn statements in the declarations filed with the Court.

       Testimony of government agents is least likely to implicate grand jury secrecy, because

there is no concern that third-party witnesses will be discouraged from participating in the grand

jury process. In addition, Agent Accardi is almost certain to be a central trial witness; the fact

that his grand jury testimony will ultimately be disclosed under Jencks substantially reduces the

need to keep it secret now. West, 2010 WL 1408926, at *5; United States v. Obiuwevbi, No. 89

CR 1062, 1990 WL 36733, at *3 (N.D. Ill. Mar. 2, 1990).

       The defense’s right to evidence that would tend to impeach Agent Accardi extends

beyond grand jury testimony. Evidence in the government’s possession that is inconsistent with

allegations in the applications and declarations would constitute Brady material, which the

government has agreed to produce to the defense by April 18. Similarly, any statements Agent

Accardi’s investigative reports or other written statements concerning the topics discussed in the

applications and declarations could also be Brady material, and at a minimum would be subject

to production in advance of trial under the Jencks Act. There is no basis to withhold the

production of that evidence when Agent Accardi’s credibility is at issue now. The only possible

consequence of failing to provide that material until right before trial would be potentially to

cause the Court to make an inaccurate ruling with respect to the Section 3292 applications. No

doubt, the government will attempt to make use of all the evidence it possesses that would

bolster the agent’s credibility. That imbalance would be inequitable.




                                                 29
     Case 8:25-cr-00006-LKG           Document 116         Filed 04/18/25      Page 32 of 33



                                         CONCLUSION

       For the foregoing reasons, the Court should invalidate the two tolling orders with respect

to the relevant alleged offenses in 2016. The government’s dismissal of its obvious pattern of

deception as “molehills of disagreement,” ECF No. 102, at 12, demonstrates that it does not take

seriously its duties to the Court. 7 Based on the testimony at the evidentiary hearing, the Court

should also consider an appropriate sanction for the government’s lack of candor in the

applications.




7
        The government’s misconduct here appears to follow a broader pattern of prosecutors’
abuse of Section 3292 tolling applications. As a recent complaint to the DOJ Inspector General
from a former federal prosecutor noted, prosecutors make a “‘deliberate effort to deceive the
relevant judges into believing that [a Justice Department unit] had, in fact, made its requests for
foreign evidence because of a legitimate interest in obtaining that evidence,’” where the “‘real
purpose of the request and the application to the judge was to buy more time to build a case.’”
Aruna Viswanatha & Dave Michaels, Justice Department Accused of Abusing Process to Extend
Statute of Limitations, The Wall St. Journal (Feb 2, 2020, 2:31 PM),
https://www.wsj.com/articles/justice-department-accused-of-abusing-process-to-extend-statute-
of-limitations-11580657654 (quoting the complaint); see also Ankush Khardori, Pretext and
Nonsense: Recent Decisions on Statutory Tolling in International Criminal Investigations, 58
No. 1 Crim. Law Bull. 1 (2022).


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     Case 8:25-cr-00006-LKG   Document 116    Filed 04/18/25    Page 33 of 33



                                          Respectfully submitted,

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                                     31
